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CL 20.18) PIS

Bryce Michael Williams

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$420 Heritage Dr RECEIVED BY MAIL
763-331-5603 MAR 22 2025

Bwillayi4@yahoo.com -
CLERK, U.o. DISTRICT COURT
VIINNEAPOLIS, MINNESOTA

March 8th, 2024

Patrick J. Schiltz, United States District Judge

United States District Court | |

300 South Fourth Street |

Minneapolis, MN 55415 | MAR 22 2024
|

U.S. DISTRICT COURT MPLS
Re: Motion for Early Termination of Supervised Release J

®, J |

Your Honor,

lam writing to respectfully request the early termination of my supervised release. | have
completed 14 out 24 months of supervised release and have demonstrated exemplary
conduct during this time.

Since the commencement of my supervised release, | have diligently adhered to all
conditions imposed upon me by the court. | have consistently complied with all
requirements, attended all scheduled appointments, and fulfilled all obligations without
incident. Furthermore, | have maintained steady employment, actively participated in
community programs, and have not been involved in any criminal activity.

| have utilized this period of supervision as an opportunity for personal growth and
rehabilitation. | have taken proactive steps to address the underlying issues that led to my
previous involvement with the criminal justice system. Through counseling, education, and
a commitment to positive change, | have successfully reintegrated into society as a law-
abiding citizen.

Moreover, | have the support of my family, friends, and community, who attest to my
continued commitment to living a productive and lawful life. | have demonstrated genuine
remorse for my past actions and | am dedicated to maintaining a positive trajectory moving
forward.

Granting early termination of my supervised release would not only acknowledge my
efforts toward rehabilitation but also allow me to fully reintegrate into society and
contribute positively to my community without the burden of ongoing supervision. | can
move forward and continue my restitution payments.
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In light of the foregoing, | respectfully request that this honorable court grant early
termination of my supervised release. | am prepared to provide any additional information
or documentation that the court may require to support this request.

Thank you for your attention to this matter. | am hopeful for a favorable resolution.

Sincerely,

Bryce Williams

Bryce WL
